       Case 1:25-cv-10276-GAO            Document 65       Filed 02/11/25      Page 1 of 4




                        THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSSETTS



  AMERICAN FEDERATION OF
  GOVERNMENT EMPLOYEES, AFL-CIO,
  et al.



                         Plaintiffs,

  v.                                                  Civil Action No. 1:25-cv- 10276

  CHARLES EZELL, ACTING DIRECTOR,
  OFFICE OF PERSONNEL
  MANAGEMENT, et al.


                         Defendants.


                       NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs write to inform the Court of recent factual developments that provide additional

support for Plaintiffs’ contention that Court has jurisdiction to hear Plaintiffs’ claims. Following

yesterday’s February 10 hearing before this Court, President Trump removed Federal Labor

Relations Authority (FLRA) Chair Susan Tsui Grundmann and Merit Systems Protection Board

(MSPB) member Cathy A. Harris from their offices prior to the end of their respective statutory

terms. See Eric Katz, Trump fires one-third of federal employee appeals board, GovExec (Feb. 11,

2025, 1:28 PM), https://www.govexec.com/management/2025/02/trump-fires-one-third-federal-

employee-appeals-board/402912/;        @LaurenKGurley,      X   (Feb.    11,   2025,   2:35    PM)

https://x.com/LaurenKGurley/status/1889397976340337114.          Both FLRA and MSPB board

positions are subject only to removal for cause, and the functioning of both the FLRA and MSPB
       Case 1:25-cv-10276-GAO           Document 65        Filed 02/11/25      Page 2 of 4




can be significantly hampered by the loss of members. See 5 U.S.C. § 1202 (d); 5 U.S.C. § 7104

(b); 5 CFR § 1200.3.

       As this Court is aware, Defendants contend – and Plaintiffs dispute – that Plaintiffs’

complaint should be channeled to the MSPB or FLRA, and that those forums would provide

“meaningful judicial review” of claims like Plaintiffs’ here. ECF No. 45 at 16. Defendants are

wrong for the reasons set forth in Plaintiffs’ briefing and as explained during yesterday’s hearing.

See ECF 12 at 13-16; ECF 50 at 10-15. But these terminations have now fundamentally weakened

these entities and undermined their bipartisan composition, further impairing any purported

opportunity for “meaningful judicial review” of Defendants’ Fork Directive absent this Court’s

exercise of jurisdiction. Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 213 (1994) (quoting

McNary v. Haitian Refugee Center, Inc., 498 U.S. 479, 496 (1991)).




                                                 2
     Case 1:25-cv-10276-GAO        Document 65   Filed 02/11/25   Page 3 of 4




DATED this 11th day of February, 2025.

                                         By: /s/Daniel McGrath__________________
                                             Daniel McGrath (D.C. Bar No. 1531723)
                                             Elena Goldstein (NY Bar No. 4210456)
                                             Michael C. Martinez (D.C. Bar No. 1686872)
                                             Skye Perryman (D.C. Bar No. 984573)
                                             DEMOCRACY FORWARD FOUNDATION
                                             P.O. Box 34553
                                             Washington, D.C. 20043
                                             Telephone: (202) 448-9090
                                             Facsimile: 202-796-4426
                                             egoldstein@democracyforward.org
                                             mmartinez@democracyforward.org
                                             dmcgrath@democracyforward.org
                                             sperryman@democracyforward.org
                                             Counsel for Plaintiffs

                                             Michael T. Anderson (BBO #645533)
                                             Nicolas Mendoza (BBO #703711)
                                             MURPHY ANDERSON PLLC
                                             1401 K Street N.W., Suite 300
                                             Washington, DC 20005
                                             Telephone: (202) 223-2620
                                             manderson@murphypllc.com
                                             nmendoza@murphypllc.com
                                             Counsel for Plaintiffs

                                             Teague P. Paterson (D.C. Bar No. 144528)
                                             Matthew S. Blumin (D.C. Bar No. 1007008)
                                             AMERICAN FEDERATION OF STATE,
                                             COUNTY, AND MUNICIPAL
                                             EMPLOYEES, AFL-CIO
                                             1625 L Street N.W.
                                             Washington, DC 20036
                                             Telephone: (202) 775-5900
                                             Facsimile: (202) 452-0556
                                             tpaterson@afscme.org
                                             mblumin@afscme.org
                                             Counsel for American Federation of State,
                                             County, and Municipal Employees, AFL-CIO
                                             (AFSCME)

                                             Rushab B. Sanghvi (D.C. Bar No. 1012814)
                                             Andres M. Grajales (D.C. Bar No. 476894)
       Case 1:25-cv-10276-GAO            Document 65         Filed 02/11/25    Page 4 of 4




                                                       AMERICAN FEDERATION OF
                                                       GOVERNMENT EMPLOYEES, AFL-CIO
                                                       80 F Street N.W.
                                                       Washington, DC 20001
                                                       Telephone: (202) 639-6426
                                                       Facsimile: (202) 329-2928
                                                       SanghR@afge.org
                                                       Grajaa@afge.org
                                                       Counsel for Plaintiff American Federation
                                                       of Government Employees, AFL-CIO (AFGE)
                                                       and Local 3707

                                                       Sarah Suszczyk (M.D. Bar No. 0512150240)
                                                       NATIONAL ASSOCIATION OF
                                                       GOVERNMENT EMPLOYEES, SEIU
                                                       LOCAL 5000
                                                       NAGE/IBPO/IAEP/IBCO
                                                       159 Burgin Parkway
                                                       Quincy, MA 01269
                                                       Telephone: (202) 639-6426
                                                       Facsimile: (617) 376-0285
                                                       Ssuszczyk@nage.org
                                                       Counsel for Plaintiff National Association of
                                                       Government Employees, SEIU Local 5000




                                      Certificate of Service

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the NEF (NEF) and paper copies will

be sent to those indicated as non-registered participants.



Dated: February 11, 2025                                       /s/ Daniel McGrath

                                                               Daniel McGrath
                                                               (NY Bar No. 4210456)
